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Attorney for Appellees-Petitioners

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

ANCHORAGE SCHOOL DISTRICT,
Appellant-Respondent,
v.

M.G., and his parents Betsy Superior Court Case No: 3AN-17-07583ClI

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)
)
)
) Case No. 3:17-cv-157-SLG
)
and Brian G. )
)
)

Appellees-Petitioners.

)

AFFITDAVIT OF JAMES J. DAVIS, JR.

I, James J. Davis, Jr., after being first duly sworn, upon oath depose and state:

1. [am an attorney with Alaska Legal Services Corporation (ALSC).

2. lama 1987 graduate from the University of Michigan Law School and have almost 30
years of legal experience. That experience includes lawyering for an international law
firm (Pillsbury, Madison and Sutro, now known as Pillsbury Winthrop Shaw Pittman),

teaching at Stanford Law School’s clinical law program (200-2001), serving as

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ANCHORAGE AND STATEWIDE OFFICE

ALSC’s “Statewide Litigation Attorney: (in which capacity I supervise or co-counsel
most of Alaska Legal Services Corporation’s complex litigation), and co-founding the
Northern Justice Project, LLC, a private civil rights firm that specializes in class action
and other complex “public interest” litigation.

My work has focused on a number of areas affecting low-income Alaskans, including
constitutional law, the Indian Child Welfare Act, public benefits, housing rights,
consumer law, and Native law. I have been lead or co-counsel in a number of reported
cases. See, e.g, Alaska Trustee, LLC v. Ambridge, No. S-14915, 2016 Alas. LEXIS
23 (Mar. 4, 2016) (holding, for the first time in Alaska, that the federal Fair Debt
Collection Practices Act applies to foreclosure practices); Native Village of Tununak v.
State, 303 P.3d 431, 449 (Alaska 2013) (“[W]Je now recognize that a heightened
standard of proof is required to ensure that the good cause determination [in ICWS
cases] is made in accordance with this policy. Therefore, we conclude that more good
than harm will result from overruling our prior holdings.”); Osbakken y. Whittington,
289 P.3d 894, 896 (Alaska 2012) (“We agree with the beneficiaries that the plain
language of AS 45.50.535(a) resolves the issue of whether non-party injunctive relief
is available under UTPA- the benefit of an injunction broadly prohibiting a seller or
lessor from continuing to engage in unfair trade practices would absolutely apply to
non-parties.”); Smart v. State, 237 P.3d 1010 (Alaska 2010) (holding that Medicaid
providers have due process rights in their Medicaid payments and that the State of
Alaska violated those rights in how it sought to recover alleged overpayments); Krone
v. State, 222 P.3d 250 (Alaska 2009) (holding that successful class counsel are entitled

to fee multipliers where exemplary results are obtained); Pepper v. Routh Crabtree,

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APC, 219 P.3d 1017 (Alaska 2009) (holding that the Noerr-Pennington doctrine does
not protect abusive debt collectors from affirmative litigation and holding that lawyers
who are debt collectors are liable under Alaska’s consumer protection act, just like
other debt collectors); Heitz v, State, 215 P.3d 302 (Alaska 2009) (holding that foster
parents have due process rights in their foster care payments and that the State of
Alaska violated those rights in how it sought to recoup alleged overpayments); Dep’t
of Health & Soc. Servs. V. Okuley, 214 P.3d 247 (Alaska 2009) (holding that
“common fund doctrine” applies in public interest context); Baker v. State, 191 P.3d
1005 (Alaska 2008) (holding that State of Alaska violated the due process rights of
hundreds of disabled Alaskans receiving Medicaid services when it sought to reduce
or terminate their benefits); Native Village of Curyung, et al. y. State of Alaska, et al.,
151 P.3d 388 (Alaska 2006) (holding inter alia, that Alaska’s Native tribes could
bring parens patrae suits on behalf of their members and had standing to sue the state
for violation of the Indian Child Welfare Act); Garber v. State, 63 P.3d 264 (Alaska
2003) (holding that the State of Alaska’s public assistance agency abused its discretion
by failing to consider hardship factors in evaluating Medicaid requests); Chilton-Wren
v. Olds, 1 P.3d 693 (Alaska 2000) (holding that tenants have the right to state
counterclaims in eviction proceedings and have the right to have those claims tried to
a jury); Pacana v. Department of Revenue, Child Support Enforcement Div. ex el.
Pacana, 941 P.2d 1263 (Alaska 1997) (holding that disabled parents must be credited
by the State of Alaska’s child support agency for any insurance benefits paid to
children as a result of the parent’s disability); Kopanuk vy, AVCP Regional Housing

Authority, 902 P.2d 813 (Alaska 1995) (holding that Alaska’s public housing

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authorities cannot use eviction proceedings against Native families buying homes
through HUD’s “Mutual Help Program”); Harlodson v. Omni Enters., 907 P.2d 426
(Alaska 1995) (holding that once an employee established a prima facia case of
wrongful termination, the case should be tried to a jury and not adjudication on
summary judgment).

In addition to these reported cases, I have successfully litigated various other complex
litigations. See, e.g., Gesula, et al. v. Municipality of Anchorage, 3AN-11-12856 CI
(leading to repeal of Anchorage zoning ordinance that discriminated against disabled
individuals) (Judge Marston); Mulgrew, et al. v. State of Alaska, et al, Case No. 3AN-
10-6273 CI (holding that State’s reimbursement protocol for foster and adoptive
parents violated federal law) (Judge Rindner); Paramore, et al. v. State of Alaska,
Case No. 3AN-10-9035 CI (entry of statewide injunction against State’s Medicaid
system for violating due process rights of Medicaid recipients when denying
recipients’ their Medicaid benefits) (Judge Tan); Myers, et al. v. Sebelius, et al., Case
No, 3-09-CV-175 (lawsuit against federal and state governments which successfully
led to the lifting of the federal government imposed “moratorium” on Medicaid
Waiver applications in Alaska) (Judge Burgess); Annette Moore, et al. v. Weidner
Investment Services, Inc., Case No. 3AN-06-09690 CI (lawsuit against “Alaska’s
largest landlord” which led to statewide refunds of excessive late fees and permanent
reduction of all future late fees) (Judge [now Chief Justice] Stowers); and Karl Carl,
Jr., et al. v. Wynn's Extended Care, Inc., Case No. 3AN-07-6398 CI (lawsuit by
Alaska consumers against one of Alaska’s largest auto warranty distributors which led

to defendant’s abandonment of mandatory arbitration in California) (Judge Joannides).

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5. My standard billing rate is $400.00 per hour. This is the rate the Supreme Court
approved in Alaska Trustee, LLC v. Ambridge, No. S-14915, 2016 Alas. LEXIS 23
(Mar. 4, 2016). That is the rate I charge at the Northern Justice Project, LLC. This is
also the rate that has been found reasonable by various judges around the state
including: former Presiding Judge Tan in Allard vy. OCS, 3AN-04-14757 CI; current
Presiding Judge Morse in Krone v. State, 3AN-05-10283, Judge Rindner in Robinson
vy. Beattie et al, Case No, 3AN-12-5482 Cl; in Ambridge v. Alaska Trustee, LLC,
3AN-10-6356 CI; Judge Pfiffner in Thomas v. AHFC, Case No. 3AN-11-12947 CL
Judge Marston in Gesulga et al. v. Municipality of Anchorage, 3AN-11-12856 CI; and
Judge Pallenberg in Central Council of Tlingit and Haida Indian Tribes of Alaska v.
State of Alaska, 1JU-10-376 CI. This rate was also paid by the State of Alaska in
settling Mulgrew, et al. v. State of Alaska, et al., Case No/ 3AN-10-6273 Cl, Denny v.

State, Case No, 3AN-12-05508 CU, and Reeves v, Hogan, Ca . 3AN-08-9298 CLI.

6. That is the rate I charge in IDEA cases.

fang Davis, Jr. (

SUBSCRIBED AND SWORN to before me this 42 day of July, 2018 at

Anchorage, Alaska. .
Notéi Public, State of Alaska
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